                    4:18-cv-04063-SEM-TSH # 133         Page 1 of 28
                                                                                           E-FILED
                                                          Monday, 28 September, 2020 01:42:08 PM
                                                                      Clerk, U.S. District Court, ILCD
                         UNITED STATES DISTRICT COURT
              CEN1RAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION




AARON O'NFAL,
      Plaintiff ,


      vs                                                  Case No . 18- CV-4063-SEM-TSH


MANUAL ROJAS, et al. ,
      Defendant's .
                           ----- --       --   ---- -




                        MOTION TO SET ASIDE DEFENDANT'S
             NOVEMBER 21, 2019 DEPOSITION OF PIAINTIFF AARON O'NEAL


      NOW COMES, Plaintiff, AARON O'NEAL, prose, and hereby ask the above
U.S. District Court , Springfield Division to set aside Defendant's November 21 ,
2019 deposition of Plaintiff, Aaron O'Neal, for the reasons that follow :
      1. Plaintiff O'Neal 's complaint alleges various Defendants ' having
violated his constitutional rights under the First and Fourteenth Amendment,
the Religious land Use and Institutionalized Persons Act related to his religious
practice at Hill Correctional Center, along with a Retaliation claim against
Defendant Manual Roj as [ Doc. 1, 14] .
      2. On June 22 , 2018 Attorney Clayton J . Ankney, an Attorney generals for
the Defendants', filed his notice of appearance on behalf of Freddie Brttton ,
Stephani e Dorethy, John Frost, and Manual Rojas. [Doc. 20] .
                   4:18-cv-04063-SEM-TSH # 133        Page 2 of 28



      3. On June 28, 2018 attonery Clayton J. Ankney, assistant attorney general
once again filed his notice of appearance on behalf of Defendant 1 s John Baldwin,
[Doc. 22], and again on August 8 2018 filed notice to also defend Defendant 1 s
Steve Gans and Melissa Phoenix in the above matter. [Doc . 31] .
      4 . On October 29, 2019 attorney Syed Ahmad filed notice to take deposition
of Aaron 0'Neal. [Doc. 78], (DOC. SO],
      5 . On November 1, 2019 Defendant's Robert Rodriquez and Joseph LaHood filed
motion for leave to appear attorney Syed Ahmad. [Docs. 80 , 81] .
      6 . After having requested the above U.S. District Court , Springfield
Division to allow attorney Syed Ahmad to depose Plaintiff 0'Neal, attorney Ahmad's
motion was granted to take plave November 21, 2019 at henry Hill Correctional

Center at 9:00 A.M ..
      7. After having been granted approval via      IJ.S. !>isf Co~,+ attorney   Syed
Ahmad knew first hand that attorney Ahmad (only) was given permission to take a
deposition of Plaintiff Aaron 0'Neal.
      8. On November    21, 2019 then attorney Syed Ahmad on behalf of Defendants'
Rodriquez and LaHood entered Henry Hill Correctional Center to depose Plaintiff
0'Neal. However, while Plaintiff 0'Neal was in the room waiting to l)e deposed,
attorney Ahmad held up the proceedings of the deposition for a period of no less
than 30 minutes until assistant attorney general, Clayton J. Ankney join~d
attorney Ahmad in what appeared to be by the terms of the deposition an unlaw-
ful grouping up on Plaintiff 0'Neal without the proper court authorization to
participate in the November 21, 2019 deposition .
                                                                              1
      9 . Subsequent to being sworn in by kny Powers, CSR, RPR Plaintiff 0 Neal
objected to attorney Clayton J . Ankney l)eing present at and participating in
the deposition that had been requested by attorney Syed Ahmad and authorized by
this Court to be taken on behalf    ol Defendants'   Rodriquez and LaHood. However,
                   4:18-cv-04063-SEM-TSH # 133      Page 3 of 28



so as not to interfere with this courts scheduling order and offset t he pro-
ceedings , Plaintiff acquiesced but assured Mrs. Powers as wel l as attorney's
Ahmad and Ankney that he would present this issue to the Honorable Sue E.
Myerscough irrrnediately regarding the appearant unlawful intrusi on taking place.
      10. Plaintiff 0 ' Neal further stated that he would like to be furnished
with a complete copy of the deposition of the events occuri ng November 21,
2019. [Depo. 108-1 at 4].
      11. Mrs. Powers appeared to understand what Plaintiff 0'Neal was express-
ing to her and appeared to be recording the statement he had made to her. The
1>asis of Plaintif f' belief is because he had been sworn in. Nevertheless, upon
receiving a copy of the deposition transcript, several moths after t he deposition,
Plaintiff learned that his statement to Ms . Powers contained i n this paragraph
had not been t ranscribed.
      12. Following Ehe =.deposition Plaintiff 0'Neal immediatel y filed hi s objec-
tions with this court concerning the appearant unlawful intrusion 1,y attorney
Clayton J . Ankney with the approval of attorney Syed Ahmed. [Docs . 84, 85, 86 87,
and 88] . The referenced filing occured November 26, 2019.
      13. Plai ntiff 0 ' Neal filed for sunrnary judgement against each of the De-
fendant's April 7, 2020. [Docs. 106, 107] . Attorney Clayton J. Ankney cross filed
Defendant s ' motion for surrmary judgment. [Docs. 121, 122, and 123].
      14. It wasn't unti Defendants' Rodriquez and La.Hood 's att orney cross filed
their motion for surrmary judgment that Plaintiff learned of the contents of the
deposition in their entirety. That Mrs . Amy S. Powers had made a number of
errors regarding Plaintiff's deposition to the extent of embellishing Plaintiffs '
responses and mi squoting several responses .
      15, It was only well after Plaintiff 0'Neal had f iled his own motion for
summary j udgment that he learned of the embellishments and misquotes made by
                   4:18-cv-04063-SEM-TSH # 133       Page 4 of 28



Mrs. kney S. Power s. [Doc 106].

      16. At no time duri ng the deposition did Plaintiff ever state he had in-
dulged in the consUTJption of eating meat on any Friday . Nor did he ever give
an estimated amount of weight loss to attorney Clayton J . Ankney. [ Depo./Doc.
121-1, at pg. 64, 81- 83.
      17. It is the misquotes and embellishments in the deposition that would
mislead any reader into thinking that the Plaintiff was not provided a meal
of nonmeat supplement for only five (5) percent of the times rel evant to this
compl aint; wheoit is the opposite that Plaintiff was conveying when attorney
was tryi ng to lead him into saying what it appeared he was saying . However,
Plaintiff 0'Neal was conveying to attorney Ankkney and Mrs . Powers that he was
not provided a meatless substitute 95% of the time relevant t o thi s law suit.
[Depo ./Doc . 121, at pg. 59-16 thru 60-10].
      WHEREFORE, it is for all the above reasons that Pl aint iff , Aaron 0'Neal
move this Honorable Cour t to set aside and strike in its entirety the deposition
of Plaintiff recorded November 21, 2019, or provide any such relief as this
deem appropriate under the specific circumstances , up t o and includi ng
sanctions .

                                                   Respectfully,



                                                 ci--~
                                               /s/ Aaron 0 'Neal, pro se
                        4:18-cv-04063-SEM-TSH
          4:18-cv-04063-SEM-TSH    # 1215!   ge #15
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                                                    of 66Page 5 of 28                                          59
     A.   So from my understanding we're supposed to         1      lawsuit. So if I don't got no money coming
2         get the vegan because we can't have the           2       in and my family is not sending me any
3         kosher because that's a meat. And the             3       money, you know what I'm sayin', there's
4         lactose is the one with the milk and all          4       certain times that you got to go over there
5         that and the eggs and all that. So it's            5      and you got to pick around the stuff, you
6       always been, to my understanding, and taught        6       know what I'm sayin'. And it's bad that you
7       to me that we're supposed to get the vegan.          7      have to do that because, you know, picking
8    Q. Who told you that?                                   8      around it is like eating the meat. You
9    A. That's what it's always been explained to me         9      might as well say you're eating the meat.
10      through the Catholic teaching.                      10   Q. So the next question is for the time frame
11   Q. Do you have anybody specifically who told           11      concerning this lawsuit on what percentage
12      you that?                                           12      of Fridays were you able to have a meatless
13   A. Like I said, this has always been -- that's         13      Friday?
14      what I've always been taught.                       14   A. Just up until this past year when they gave
15   Q. Okay. Where do you get your understanding           15      the pizza arid the grilled cheese.
16      that you have to have meatless meals every          16   Q. I'm sorry, my question is for the time of
17      Friday?                                             17      this lawsuit -- I'm sorry, I'm just trying
18   A. Well, you just socked me with that one. No,         18      to figure out how to phrase it --what
19      seriously -- no, I think you're a good guy.         19      percentage of Fridays were you able to
20      Seriously, I was going to say, I just did an        20       personally not eat meat? Did that make
21      e-file yesterday, which I'm not sure, maybe         21      sense?
22      you all didn't - maybe you didn't receive           22   A. You say through the Fridays?
23      it, but you should have received it. And in         23   Q. Yes.
24      there is Exhibit 3 in there, and it states          24   A. Well, I won't eat the meat on the Fridays,




                                                       58                                                         60
1         in there that Catholics are not supposed to       1       you know what I'm sayin'.
2         have meat at any Friday throughout the year.      2    Q. I understand. I was asking like so on
3         So that's why you're saying why I did that,       3       90 percent of Fridays --
4         that's our teaching. And this comes from          4    A. More than that.
5         the pope -- not the pope, but the bishop.         5    Q. 95 percent?
6    Q.   All right.                                         6   A. I would say that.
7    A.   This come from Bishop Jenky . But I've known       7   Q. So like about 95 percent of Fridays through
8         that since coming up in Catholic -- Catholic       8      the course of this lawsuit you've been able
9         school.                                            9      to not eat meat on Fridays?
10   Q.   How often do you eat meat on Fridays?             10   A. Yes.
11   A.   I don't.                                          11   Q. Okay. You've also said that you attended
12   Q.   You don't?                                        12      services on most Tuesdays, correct?
13   A.   Like I say, I have in the past. You're            13   A. Correct.
14        saying like if I eat it. I don't eat meat         14   Q. And like what percentage ofTuesdays would
15        on Friday. I abstain from it.                     15      you say over the course of this lawsuit you
16   Q.    But you did say you did eat it on occasion       16      were able to attend services?
17         in the past?                                     17   A. I would say a good 90 percent.
18   A.   You're saying like a lot, you know. There's       18   Q. 90 percent? And what was the reason for the
19        times that you've had to break. Because I         19      10 percent that you missed?
20        don't want to lie to you. There's been            20   A. Whether the institution is on lockdown or I
21        times where you've actually had nothing in        21      might be in segregation and you can't make
22        your box, because I'm not working. You            22      it over to service due to you're on lockdown
23        know, I can't get a job because they're           23      in segregation maybe for a fight or what
24        retaliating against me because of the             24      have you, you know.
                            - - -- - - -         - -
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           THE DEPOSITION OF AARON O ' NEAL, before f'1P,Y S .                                1     (Wi u iess swo rn . )

2    Power,; , UJ..inois CSR 084-0030~3, RP;;. 038!:>40, a                                    2                              AARON O'NEAL,

3    ~oLary P1J.b l ic , <JO ':!'iursday , Lhe 21st d a y of                                  3    havinq b e o n firsl (.{1,11 y swo r n ,       ,..,r-,_\:$   c>:a:-ri.Lneu a ~1U

4    November 2 0 19, cvnur.o:-idn<J al the hour 0f 9 : 2 4                                   4    l.(~stif i ed on   h1s   o a th a;; Li.>! I•~)W!:: .

5    a . :n., aL Henry ;1 ill C0rrecl.ionill Ccnl cr , 600                                    5
6    1,lriwuo.J Ro~d,                i n Lhc C i t.y cf G-"'lC$b1~rg , Count y of             6                    MR. O'NEAL: I want a copy of
7    Knox ,      ,.'u
                    . 1(.{   SUl:.e Jf 1 ll ino i s .                                         7            everything that takes place today of this
8                                                                                             8            deposition. And I also would like to
9              PRESENT:                                                                       9            mention that although you are deposing me
10                      iV\RON O ' NEA!.                                                      10           today, I've asked for interrogatories and
                        ilcnrv Hi l l Corrccti.ona L Center
11                      t5GO i.i nwnod Ronri                                                  11           production of documents in which neither
                        G,oJc,,stllJrcJ, T J I i no·is 6 l ~Ol
12                            ,1~J.)('?.-:ri nq Pre, Sc;                                      12           firm out of Clayton Ankney and Perkins did
13                      Cl,'\Y1UK ANKNEY, ESQ •                                               13           not answer. And I just filed that
                        T1 l i no is ALtorncy r:rencr ,,_1 •s Off ice.
14                      :00 Sot.. t h Sccc_-,r.d Strt.:ct                                     14           yesterday in the United States District
                        Spr lnqt i~li, I l l in<1i~ 6?"i06
15                      .::dnknc:;@at.4 .st,;t.c:: . ·. 1 . 11s                               15           Court asking you to compel to the
                              cm bch,11.c of .Joh n ii-3]ciwLr. , Mnnncl
16                                Ho jn~, Stepl;:~nie Do!"ct:hy, r'r edrii c                  16           interrogatories and production of documents
                                  Rri t.to~, ,Johr: Fro.st, Stcv~ Gans, a nd
17                                1'-'iel i$.e;,-1 Phoenix ;                                  17           and a request for admissions, both firms,
18                      SYEI) F. . ~.Ettit\r), F.~iQ .                                        18           that you did not answer on September 18,
                        fic-y l , f{Oy~r.e r , Voe lker             !i AJ Jen
19                      .::i00 H.:1mi l r..1..tr. Bnu l evar d                                19           2019, September 20, 2019, and October 9 of
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20                      ~,1hm,1n@t-.c\' ! r o v!=:lC r·. com                                  20           2019,
                             on boh,·: If· of Roben. Rodr ig1;,cz
21                           ,..,nd .:-('le f -~1h<"t">ri .                                   21                     Those interrogatories and
22                                                                                            22          production of documents has not been
23                                                                                            23          answered by either firm -- by either firm.
24                                                                                            24                 MR. AHMAD: Okay. Anything else you
                                                                                              '-- - - -- - -- -- -- -a- - -- •
                   - -  - - - - - - - - --,
                          -- -                         -   -  -- - --- - -                       -·--   - ·- - -
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                                                 of 66   Page 7 of 28                                              7
      want to add?                                        1         down, because I'm going to jot down the
2           THE WITNESS: No, that's it.                   2         questions that's being answered.
3           MR. AHMAD: All right. So I'm                  3              MR. AHMAD: That's fine. And I'll be
4     going -· so the way a deposition would work         4         mindful of that.
5     here is this is an opportunity for myself           5                   Also at the same time if there are
6     and Mr. Ankney to ask you a series of               6        any questions that you may or may not
7     questions about your case, and everything           7        remember, you can let me know. If you need
8     is being placed on the record.                      8        to change it down the road, let me know and
9                 Now, have you ever done a               9        we can revisit that, especially if you
10   deposition before?                                   10       forget or whatever it may be.
11           THE WITNESS: No.                             11                  Does that all make sense?
12           MR. AHMAD: Okay. So I'll start with,         12              THE WITNESS: Yes.
13    first of all can you state your name for            13              MR. AHMAD: Are you feeling well
14    the record, spelling your last name.                14        today, well enough to answer?
15           THE WITNESS: Aaron 0'Neal. Last name         15              THE WITNESS: Yes.
16    O-N-E-A-L. That's apostrophe between the 0          16              MR. AHMAD: Are you on any medications
17    and the N.                                          17        today?
18           MR. AHMAD: And you indicated this is         18              THE WITNESS: No.
19    your first deposition ever?                         19              MR. AHMAD: Do you feel like are there
20           THE WITNESS: Yes, sir.                       20         any mental issues that might be distressing
21           MR. AHMAD: So just some basics that I        21        you today?
22    would like to go over with you. As you can          22              THE WITNESS: No.
23    see, we have a court reporter today typing          23              MR. AHMAD: So you feel that you would
24    down what's being said. So one of the               24         be able to answer all the questions to the



                                                      6                                                               8
      grounds rules is make sure only one person          1         best of your ability?
2     is talking at a time. So if I'm talking,            2               THE WITNESS: Yes, to the best of my
3     let me finish, even though you may know the         3         ability.
4     answer. And I will wait until you're done           4                MR. AHMAD: Okay. With that said, I
5     before I ask you anything. Does that make           5         would like to begin.
6     sense?                                              6
7            THE WITNESS: Yes.                            7    EXAMINATION BY MR. AHMAD:
8            MR. AHMAD: And on top of that, I             8    Q. You have brought suit against various
9      would say, you know, I know we're having a         9        defendants. Can you just give us a brief
10    conversation, but sometimes I'll ask you a          10       background as to why you brought suit?
11     yes or no question and you may nod or shake        11 A, Well, me and the Catholics have been
12     your head.                                         12       deprived having a non-meat Lenten meal for
13               I may know what you're saying, but       13       14 1/2 years. This has been an ongoing
14   the court reporter cannot transcribe that,           14       process and procedure here at the Hill
15   so anytime you have to say yes, say yes,             15       Correctional faci lily.
16   anytime you have to say no, say no.                  16 Q. Can you tell us specifically why you were
17               Whatever you need to say, you            17       suing each of the individuals?
18   know, say it on the record so she can take           18 A, Because every defendant that's named in the
19   it down.                                             19 -     complaint bears some form of negligence in
20               Do you have any questions right          20       this proceeding.
21   now?                                                 21 Q. Okay. And who is the primary person that
22           THE WITNESS: Like I said, I'm not as         22       you feel is responsible here?
23     fast as she is, but every question that you        23 A. I would say the Catholic Church.
24     ask, I would like a little time to jot it          24 Q. Okay. And why is the Catholic Church
                                                                                                          - - - ---       -
    -~   -     --     - -   -   --      -   - - - --          -
                             4:18-cv-04063-SEM-TSH
               4:18-cv-04063-SEM-TSH   # 12191   ge #3 133
                                                       of 66 Page 8 of 28                                                  11
1             responsible?                                          1   Q.   Which is what year?
2        A.   Because they did not advocate on our behalf          2    A.   Since 2005 here at Hill Correctional Center .
3             when we have spoken to them every year that          3    Q.   And as of 2018 they've been providing you
4             I've been here since 2005 leading up 'Iii            4         the forms in advance?
5             now informing them of what's been going on .          5   A.   Never.
6             And, you know, they always told us that               6   Q.   They still have not provided you the forms?
7             they'll look into it, look into it, but               7   A.   Just 2018 was the first time ever that he
8             every year that goes by, no meal.                     8        finally got them out to Catholic inmates.
9 . Q.        Did you ever sue the Catholic Church?                 9   Q.   Okay.
10 A.         No, I've never sued anyone.                          10   A.   Prisoners, inmates, whatever.
11 Q.         So have you been part of any lawsuit other           11   Q.   And where would you normally get forms?
12            than your criminal cases?                            12   A.   Through Chaplain Rojas. Every other
13 A.         I've never sued anyone.                              13        religion, Jewish, Muslim, they get them on
14 Q.         Have you ever been sued?                             14        time, they get them in the mail. Catholics
15 A,         No.                                                  15        have never gotten them until 2018.
16 Q.         The Complaint that you wrote initially, you .        16   Q.   Now, just to kind of give me an idea on the
17            indicated that Mr. Manuel Rojas is                   17        process and procedures, is there a place for
18            responsible for arranging and approving              18        you to access forms in general?
19            religious meals.                                     19   A.   What do you mean by "access forms"?
20 A.         Yes.                                                 20   Q.    Like if there are any forms that you need
21 Q.         So what was his role in all of this?                 21        for requesting things or sending out
22 A.         Well, it's 45 days before Lent you have to           22        grievances, where do you get them?
23            notify the chaplain if you want to partake           23   A.    He's got to send them to you. You can't
24            in the Lent meal.                                    24        send them in yourself, because see, that




                                                              10                                                           12
 1 Q.         Okay.                                                 1      document there has to be signed off on by
2 A.          So every year that, like I said again, I've          2       the chief administrator officer. So it's
3             been here, I would contact Mr. Rojas in              3       got to go by procedure. I should have
4             person, because, you know, chapel is every           4       brought that form with me. It's a form --
5             Tuesday for the Catholics. And his office            5       it's in the - it's in the Complaint as
6             is adjoining right - it's connected to the            6      well, the request form that you send out for
7             chapel.                                              7       for the accommodation to be provided the
8                        So I would go in there, speak to           8      meal. And it's a number on the bottom of
9             him or, you know, catch him when I can and            9      it. It has to be on that form. And the
1O            tell him, "Well, you know, the Lent is               10      only way you can get that form is through
11            coming up; are you going to send up the              11      the chaplain, Rojas. That's it right there.
12            forms so the Catholics can fill them out and         12      At the bottom is a number. Should be the
13            give them back to you so we can get our              13      right-hand corner. Yeah, down here at the
14            meal?"                                               14      bottom.
15                        And he would always say, "Well,          15   Q. And the form you're referring to is DOC0388?
16            you know, it's being looked into," and this          16   A. Yes. That's the form that's got an issue
17            and that, but never no -- I'm trying to              17      throughout the institution in order for you
18            think. The request -- the request document           18      to sign and return back to the chaplain.
19            was never sent out until what, 2018·.                19      And then once he sends it in, then the chief
20 Q.         Okay. And when did this first start                  20      administrator officer has to sign off on it
21            occurring for you where you wanted -- where          21      whether it's going to be approved or denied.
22            you wanted the form, but the form was not            22   Q. And who is the person that is in charge of
23            given to you?                                        23      sending that form to you?
24 A.         Since I've been incarcerated.                        24   A. Chaplain Rojas.
     --     - -   --- - - - -                                                                - -   -   ~~- -   -   ·· -   -
                           4:18-cv-04063-SEM-TSH
           4: 18-cv-04063-SE M-TSH # 121tj.    ge 4# of
                                                     13366 Page 9 of 28                                                   15
1    Q.   And what did you say Chaplain Rojas's role      1           knew of since Rojas retired. So that had -
2         was?                                            2           I sent the form, that one, to the warden,
3    A.   He's the head chaplain - he was the head        3           Warden Williams.
4         chaplain of Henry Hill Correctional Center      4    Q.     Warden Williams?
5         since I've been here, but he's since            5    A.     Yeah.
6         retired.                                        6    Q.     Then Williams responded and said just ask
7    Q.   When did he retire?                             7           the chaplain?
8    A.   If I'm not mistaken, he retired sometime        8    A.     No. He forwarded it to whoever chaplain was
9         this year or late last year. I just know        9           at this time.
10        that he stopped showing up and then the word    10   Q.     This year?
11        got around that he retired, so I don't know     11   A.     Yeah. And they send it back with no name
12        exactly what date he actually retired.          12          stating "Chaplain" at the bottom, that it's
13   Q.   Now, so in 2018 he provided the form to you?    13          been brought to their attention about the
14   A.   Yes.                                            14        · Lent and that we will be provided the meal,
15   Q.   In 2019?                                        15          meaning the Catholic, but no forms ever
16   A.   2018.                                           16          issued.
17   Q.   What about 2019?                                17   Q.     Were you provided the meal that was
18   A.   2019 he didn't provide the form.                18          appropriate in 2019?
19   Q.   Who provided the form?                          19   A.     They gave it to the whole institution. Now,
20   A.   Nobody.                                         20          see, that's the difference. Say with the
21   Q.   You did not get the form in 2019 either?        21           Muslims, if you're doing Ramadan, you got to
22   A.   No.                                             22          fill out that same form, and if you Jewish,
23   Q.   Did you request a form in 2019?                 23          you got to fill that same form. And they
24   A.   There was no one•· oh, yes, I did. And          24           don't give it to the entire institution.




                                                     14                                                            16
 1      it's funny that you say that, because it           1         However, with no chaplain that we knew of at
2       just dawned on me, I had to write the             2          the time, just someone saying "Chaplain," I
3       warden, which is Warden Williams, and let         3          don't know if they were going through ··
4       him know that by Rojas being retired, who         4          whether there was one appointed, one was
5       would we send our request asking that we be       5          going to be appointed or not, but they just
6       provided a meal.                                  6          gave this meal to the entire institution.
7                   So they got a new chaplain here.      7                      So we never got a form. You never
8       No one knew her name at the time. So we get       8          had to sign anything. So that year they
9       a paper back in the mail stating that             9          gave grilled cheese for lunch and pizza for
10      chaplain, but no name, Chaplain has been          10         dinner, or vice versa, the menus would flip,
11      brought to my attention that the Lent is          11         per Friday for 2019.
12      coming and you guys will be provided the          12   Q.    So in 2019 you were able to observe Lent?
13      meal, but no forms ever issued.                   13   A.    2019 the entire institution, but not as
14   Q. Okay. Did you request the new chaplain -          14         being recognized as a Catholic Lent meal.
15      the form?                                         15         That was a meal for the entire institution.
16   A. Well, I requested that in the original            16   Q.    But you were able to observe Lent in 2019,
17      grievance. I asked that he be taken out of        17         yes or no?
18      that stead and replaced with someone who was      18   A.     I wouldn't say Lent. But we were provided a
19       non-biased against Catholic prisoners.           19         meal of grilled cheese and pizza for 2019.
20   Q. I'm asking in 2019.                               20   Q.    And the pizza was vegetarian?
21   A. No.                                               21   A.     It was non-meat on that --
22   Q. In 2019 did you request the form from the         22   Q.    There was no meat on there?
23       chaplain?                                        23   A.     No.
24   A. I requested - there was no chaplain that we       24   Q.    So did -· by eating the grilled cheese and
                      - - - - - - - - --          - - - -- - -- - ·
                         4:18-cv-04063-SEM-TSH
           4:18-cv-04063-SEM-TSH # 121t:i     ge#5 133
                                                    of 66 Page 10 of 28                                              19
1         the pizza did you violate the Lent                  1         DOC0388?
2         requirements?                                       2     A. No, because that doesn't -- that doesn't
3    A.   No.                                                 3         consist of that, you know. You're just
4    Q.   So just for the sake of informing me, what          4         asking to be fed a non-meat meal on Fridays.
5         exactly do you believe are your requirements        5     Q . For religious reasons?
6         for Lent?                                            6    A. Yes.
7    A.   We're not supposed to have meat not just for        7     Q. But you did not -- so, okay.
8         Lent, but Catholics aren't supposed to              8                    When you did fill out DOC0388,
9         consume meat prior to any Friday of the             9         that was specific to Lent?
10        year.                                               10    A. Yes, that's what that form is pertaining to.
11   Q.   Have you -- now, at some point you did              11    Q. And that is all that you asked for in
12        receive Form DOC0388; is that correct?              12        writing?
13   A.   That was in 2018 again.                             13    A. Whatever that form pertains to.
14   Q.   Did you fill it out in 2018?                        14    Q. Did you at any time fill out any form or any
15   A.   Yes, I did.                                         15        letter, anything in writing, requesting that
16   Q.   And in that form -- do you have a copy of           16        you be given meatless Fridays every Friday?
17        that form?                                          17    A. The 2018, that's the only form.
18   A.    It's in --                                         18    Q. That's the only form you filled, but that
19   Q.   A filled-out form?                                  19        was just for the Lent period?
20   A.   Yes.                                                20    A. Yes.
21   Q.   And did you request meatless every Friday,          21    Q. So the only requirement that you feel that
22        or just Friday during Lent period?                  22        wasn't met for which you brought this
23   A.    No, it states on there what we're supposed         23        grievance is that you were not given
24        to have. It's a meatless meal throughout            24        meatless options on Fridays during Lent,




                                                         18                                                        20
1         the whole Lent.                                              correct?
2    Q.   Just Lent?                                           2    A. Fridays in general. We keep -- this is
3    A.   Yeah.                                                3       being redundan_t because we keep going back
4    Q.   So you didn't ask for the whole -- every            ·4       and forth. It's being redundant. It's
5         Friday?                                              5       Friday in general.
6    A.   We're not supposed to have meat period               6    Q. I'm  asking about the Lent period. Any
7         again, once again.                                   7       other --
8    Q.   That's not the question. My question ls did          8    A. I think you need to take time out to read
9         you ask that you not --                              9       the form, because on the form, you know what
10   A.   No, we don't ask - we don't ask -- all we            10      I'm saying, it doesn't require what you're
11        ask is that we be fed a Lent meal.                   11      asking that I provide on the form .
12   Q.   Okay. So you --                                      12   Q. Okay.
13   A.    However they honor it and give it to us,            13   A. You know, you're asking me do I put that
14        that's another question. But you know. .             14      down on the form that I want to be fed all
15                                                             15      Fridays. That's not what that form pertains
16   Q. Okay. So you only ask that you be provided             16      to.
17      meatless Fridays during Lent period, yes or            17   Q. Let me rephrase my question. Was your
18      no?                                                    18      request anything other than being provided
19   A. I would ask - you asked me a question . Can            19      food that was meatless?
20      I answer it?                                           20   A. That's what the form consists of.
21   Q. Sure.                                                  21   Q. I'm asking you did you have any other
22   A. I'm requesting and have requested to not be            22      request, or was your request only for
23      fed meat period 011 Fridays.                           23      meatless Friday?
24   Q. And did you do that in writing using                   24   A. For meatless Fridays.
                                                                              -- -    --      - --    - - -- --- -
    --- - -- -- -- -- --- - --          ~ -- - - - - -- -                                      -         --   -    -    -   -
                    4:18-cv-04063-SEM-TSHge #6 133
           4 : 18-cv-04063-SEM-TSH # 12121!.   of 66 Page 11 of 28                                                     23
1     Q.  Nothing else?                                    1         been here, meat. You're saying how many
2     A.  For meatless Fridays.                            2         times have meat been served?
3     Q.  No, I'm asking you questions --                  3    Q.   During Lent.
4     A.  We're going in circles.                          4    A.   Yes, it's been served to Catholics, meat,
5     Q. Look, you're not answering --                     5         throughout the whole time I've been here
6     A. I am answering your question. I'm not             6         since that 2019 which I just spoke to you
7         giving you the answer that I guess you're        7         that they gave it to the whole institution.
8         expecting me to give you. But my answer          8    Q.   So 2019 they did not give you meat on
9         will not change. You can re-form the             9         Fridays during Lent?
10        question as many times as you want to or         10   A.   No.
11        over and over again, but I'm going to keep       11   Q.   201 8?
12        giving you the same answer. That's what I'm      12   A.    Meat.
13        saying, it's becoming redundant.                 13   Q.   You got meat?
14    Q. Can I rephrase my question and then you can       14   A.   Yeah. All throughout from '18 back --
15        decide what you need to answer?                  15   Q.    Despite filling out the form, you got meat?
16                    My question is was there any other   16   A.    We never filled out the form. Only that one
17        religious obligation that you felt you had       17         time which came out in 2018.
18        that you requested that the facility did not     18   Q.    Yeah, so in 201 8 did you get meat or no on
19        provide to you?                                  19         Fridays?
20    A. Again, I said on the same answer to the --        20   A.    We got meat. We didn't even get the meal
21    Q. Any other, any other?                             21         that we signed up for, which was that form,
22    A. It's asked and answered .                         22         which we were supposed to been given a
23    Q . I'm saying any other?                            23         non-meat diet, and we still wasn't given to
24    A. Asked and answered.                               24         it because the warden, the chief officer at

                        - -- - -          - -- -           '--- - --       -   --- -       -       - -        -   --- - - -



                                                     22                                                           24
      Q. So no other. Okay.                                1         the time, Defendant Dorethy, never signed
2                    When was the first year you           2         off on it once Chaplain Rojas circulated the
3        requested Form DOC038 --                          3         forms to the Catholic parishioners of Henry
4     A. Since I been incarcerated, 2005 leading up        4         Hill; she wouldn't sign off on it for
5        even 'til, 2019.                                  5         whatever reason .
6     Q. And who did you request?                          6    Q.   So just to get better reflection of what
7     A. I asked - that's been asked and answered.         7         you're saying, in 2019 the whole prison got
8        I told you, Chaplain Rojas.                       8          meatless Fridays during Lent?
9     Q. Okay. Every year?                                 9    A.    I wouldn't say a meatless Friday. That was
10    A. Yes. Except 2019, because he was not here         10        just the meal provided to the institution.
11       for that one.                                     11         You keep saying meatless Friday as though
12    Q. When was the first year you were able to          12         like that was a Catholic meal.
13       observe meatless Fridays du ring Lent?            13   Q.    No, I'm not saying Catholic. Did I say
14    A. As of -- as consisting of the form, it has        14         Catholic? Did I say Catholic? No, hold on,
15        not been honored 'til this day. For the no       15         hold on . Did I say Catholic? I said
16       form -- see, that's what I'm saying. I            16         meatless Friday.
17       guess you haven't mad this form. This form        17   A.    Okay. Well, that was given to the whole
18        consists of --                                   18         entire institution.
19    Q. Again, that's not my question. My question        19   Q.    That's what I said, right? So the entire
20        is when was the last time that you were not      20         institution in 2019 --
21        able to -- or that you were only being           21   A.    Was fed pizza and grilled cheese.
22        provided meat on Fridays during the Lent         22   Q.    No meat on Fridays.
23        period?                                          23   A.    And breakfast was sausage, which is meat.
24    A. It's been provided every Friday that I've         24   Q.    Sure.
                                                                                                         -    - -- - - -- ·
     -        -   - - - -- - -       -                                       -··- - -- -- -      - --
                                   4:18-cv-04063-SEM-TSH
                   4 :18-cv-04063- SEM-TSH             ge #
                                                          7 133
                                                            of 66 Page 12   of 28                                           27
1        A.       And so forth.                         1 Q. And then what about Freddie Britton?
2        Q. In 2018 it's your testimony that you filled            2    A.    That's the food supervisor who was denying
3                 out the form?                                    3          the meal to be issued to the Catholic
4        A.       Yes, I did.                                      4          inmates.
5        Q.       But the prison did not accommodate you?          5    Q.    Okay. Did you talk to Freddie?
6        A.       They did not honor it, yes.                      6    A.    Yes, personally.
7        Q.       Okay. But it's your belief that Chaplain         7    Q.    Do you know if the warden directed Freddie
8                 Rojas forwarded that form to the prison          8          to do anything?
9                 warden?                                          9    A.    I can't tell you if the warden, because I
10       A.       He did. Because the Catholics here filled        10         wouldn't have been presentfor a
11                that form out and returned it to him. But        11         conversation such as that.
12                once again, the warden, the chief                12   Q.     But Freddie would normally listen to what
13                administrative officer, would not sign off       13         the warden says?
14                on it.                                           14   A.     I can't tell you that.
15           Q.   Okay.                                            15   Q.     You don't know. Okay.
16           A.   So we were not provided 2018 the meatless        16                       What about John Frost, what's his
17                meal that we signed up for.                      17          role?
18           Q.   What did they give you as food on Fridays        18   A.     He was a counselor during the time that I
19                during Lent in 2018?                             19          filed this grievance, and he was promoted to
20           A.    It varies, you know.                            20          going to be the grievance officer after
21           Q.   Okay.                                            21          Mr. Gans that was once the grievance officer
22           A.   You would have to pull the list of the           22          retired, and now Mr. Frost is retired. And
23                 Dietary because it's in there what was          23          I don't know who our grievance officer is
24                given, which you would have probably             24          now.

--       -        - - -- -                                                         -   -   ---       -   --   -     --          --

                                                              26                                                                28
1               spaghetti with meat or so forth or whatever.       1    Q. Okay. So what does he do, John Frost or
2               I can't tell you off the top of my head            2          Steve Gans?
3               exactly every Friday of 2018 exactly what          3    A.    Well, during the time that I filed this
4               the meal was, but it wasn't consisted of a         4          grievance, when you file a grievance, you
5               non-meat religious meal for Catholics in           5          send it to your counselor and he looks into
6               that year dating back to 2005.                     6          your grievance to see if he can resolve the
7            Q. So tell me what was the role of Stephanie          7          problem.
8               Dorethy here?                                      8    Q.    Okay. So he's one of the grievance
9            A. She's the chief administrator, you know.           9          officers?
10              She signs off as well as the request forms         10   A.    Yes, he's a counselor.
11              and as far as anything dealing with the            11    Q.   Counselor.
12              religions. But now it's been told to me            12   A.    You could say counselor/grievance officer.
13              and -- which Mr. Ankney I'm quite sure knows       13    Q.   Okay. And same thing with Steve Gans?
14              about that, because I got that in the mail,        14    A.   Steve Gans was officially the grievance
15               she stated that she relinquished those            15         officer. After your grievance leaves the
16               duties to her assistant warden, which we          16         counselor, and if he doesn't solve it, you
17               never knew anything about that.                   17         pass it on to the grievance officer, which
18           Q. Okay. So what you're saying is once you            18         was Gans at the time, Steven Gans.
19               filled out the forms, you were going to give      19    Q.   Who is Melissa Phoenix?
20               it to Rojas --                                    20    A.   She at the time was the Administrative
21           A. That's who you returned it to.                     21         Review Board officer at the time in
22           Q. -- and Rojas would then give it to                 22         Springfield --
23               Stephanie?                                        23    Q.   Okay.
24           A. Yes.                                               24    A.   -- under the director.
    -    -   -    --   - -   -   - -- - - - - - -                       -        - - -- --
                               4:18-cv-04063-SEM-TSH
                 4:18-cv-04063-SEM-TSH    # 12:lN  ge #8 133
                                                         of 66 Page 13 of 28                                                      31
        Q.   And you took it all the way through the             1          A.   You had Deacon Rodriguez, Deacon O'Toote ,
2            Administrative Review?                              2               and Deacon Pat, which I guess was Patrick,
3       A.   Yes, I did.                                         3               but I don't know his last name.
4       Q.   And she denied the claim?                           4          Q.   Okay. And then if you were to talk to them
5       A.   Yes.                                                5               about some issue, they would have to go to
6       Q.   Okay. Makes sense.                                  6               Chaplain Rojas?
7                        Now, in terms of the process, so        7          A.   Through Rojas to get it approved with the
8            when you're asking for religious                    8               institution. But anything outside of the
9            accommodation, especially dietary, which            9               institution, he had to take that up with
10           is -- which was the case here, normally you         10              either whoever is ahead of him, which would
11           would go to the chaplain, and you said you          11              be the bishop or cardinal or a priest or
12           went to Chaplain Rojas every year?                  12              someone of that nature.
13      A.   Yes.                                                13         Q.   Okay. So let's go to Robert Rodriguez. He
14      Q.   And was Chaplain Rojas in charge --                 14              was one of the deacons?
15      A.   Yes, that's it -- that's his duties.                15         A.   Yes. Still is.
16      Q.   Okay. He was the guy in charge of the                16        Q.   What about Joe Lahood?
17           Catholic --                                          17        A.   Joe Lahood is a deacon too. He's the prison
18      A.   He's in charge --                                    18              ministry deaco·n of the Peoria Archdiocese.
19      Q.   -- chaplains?                                        19        Q.    Does he come to the prison as well?
20      A.   He's the head chaplain of everything. If             20        A.   Well, it's funny that you mention that,
21           you got -you're Muslim, Jewish, whatever,           '21              because the whole time that I've been here,
22           any type of religious accommodation that you         22              14 1/2 years, and he's been the head of the
23           needed or wanted, you have to get it                 23              prison Catholic ministry, no Catholic here
24            approved through him and speak to him               24              has ever met him, done any fellowship with
                                                                 '---        -   -     -   --   -   -   --     - ~     -      -


                                                            30                                                                    32
           personally.                                            1                  the Catholic parishioners of Henry Hill
2       Q. So he's the head chaplain period?                      2                  Correctional Center for whatever reason.
3       A. He's the head chaplain, or was, of Henry               3         Q.       So you've never met Lahood?
4          Hill.                                                  4         A.       No, I've never met him.
5       Q. Or was. And is he_Catholic?                            5         Q.       For all you know, he just lives in Peoria
6       A. No.                                                    6                  and works out of the Peoria diocese?
7       Q. He was not?                                            7         A.       I just know of him through Deacon Rodriguez
8       A. No.                                                    8                  and Chaplain Rojas.
9       Q. As far as you know, all requests for                  9          Q.       Okay. Do you know how he's personally
10         religious accommodations would go through             10                  involved in all of this?
11         Chaplain Rojas?                                       11         A.       Well, by him being the head, as you say, of
12      A. Yes.                                                  12                  the Catholic ministry, like issues such as
13      Q. So if you made a request to a Catholic                13                  this, when I would speak to Rodriguez or
14         chaplain, he would have to go to Chaplain              14                  Mr. O'Toole, they would always say, well,
15         Rojas with the form?                                   15                 you know, I have to speak to Deacon
16      A. That who did? The chaplain?                           16                   O'Toole -- I mean, not O'Toole, Deacon
17      Q. Yes, let's say -- were there multiple                 17                   Lahood because you got two, O'Toole and
18         chaplains?                                            18                   Lahood . He said I would have to speak to
19      A. Yes.   You got like the ones you represent,           19                   Lahood and see where is this gonna go.
20         you have -- at the time this grievance was            20                              It's like an imposter. We are
21         filed, you had three deacons coming in at             21                   hearing of someone, but we've never actually
22         that time.                                            22                   see him, but we know he exists because of
23      Q. Okay. Okay. And who were the three                    23                   through the Catholic Church.
24         deacons?                                              24         Q.        So again, I'm trying to picture this in my
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                              - -# 1213-j.
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                                             of 66 Page 14 of 28                                                    35
1        mind. So correct me where I'm wrong here.          1        Rodriguez had become a deacon , because at
2        So you would talk to let's say Deacon              2        the start of when I first came here, Deacon
3        Rodriguez, and Deacon Rodriguez had                3        Rodriguez was not a deacon. He just used to
4        essentially two channels or two bosses. One        4        come here and volunteer with O'Toole.
5        would be Chaplain Rojas --                         5    Q. Okay.
6     A. Rojas.                                             6    A. Then there came a time that he got ordained,
 7    Q. - for prison stuff like -                          7        and I think that was in 2012 I believe, from
8     A. Right. And then you'd have to get in               8        the paperwork that they filed. And I had
 9       contact with either Lahood or Bishop Jenky         9        asked him in 2016 about the religious meal,
10       at the Peoria Archdiocese.                         10       because I've never brought that to him
11    Q. For the religious aspect?                          11       personally before up until that person --
12    A. Yes.                                               12       that time. And he told me -
13    Q. Not the -- necessarily the prison                  13   Q. Who is "he"? O'Toole?
14       administration and so on?                          14   A. No.
15    A. Prison administration you have to deal with        15   Q. Rodriguez?
16       Chaplain Rojas or the warden, whoever is           16   A. No, no, no, you're right, O'Toole told me
17       running the institution at the time.               17       that Robert Rodriguez is in charge.
18    Q. So Lahood was strictly on the religious side       18                  And I'm like, "Whoa, Robert
19       directing and controlling what Rodriguez was       19       Rodriguez is in charge. I always was under
20       doing?                                             20       the--"
21    A. Yes.                                               21   Q . In charge of what?
22    Q. But not on the prison side or administrative       22   A. Of anything that's dealing with the
23       side?                                              23       Catholics here --
24    A. I've never met him.                                24   Q. At the prison?




                                                       34                                                           36
      Q. Okay. Has he ever communicated with you in         1    A.   - at Henry Hill Correctional Center. So
2        any way?                                           2         you've got three deacons, so you don't know
3     A. Who?                                               3         who's who. All you know is this guy's a
4     Q. Lahood .                                           4         deacon, this guy's a ~eacon, this guy's a
5     A. Lahood? Never fellowship with any Catholic         5         deacon. Well, who's the head deacon here,
6        prisoners on any aspect, whether in person         6         you see what I'm saying?
7        or in writing.                                     7    Q.   Okay. ·
8     Q. Now, let's talk about Deacon Rodriguez.            8    A.   So O'Toole told me that it was Robert
9        When was the first time you reached out to         9         Rodriguez. But now I come to find out that
10       Deacon Rodriguez? And that's Robert                10        O'Toole never stopped being the head deacon
11       Rodriguez, correct?                                11        of Henry Hill Correctional Facility.
12    A. Yes.                                               12   Q.   Okay. So when did you first start talking
13    Q. Regarding the Lent meals.                          13        to Rodriguez?
14    A, Well, see, and the reason why I say this           14   A.   About the Catholic meals?
15       kind of gets tricky is because I was               15   Q.   In general. In general.
16       hoodwinked into something, and that's              16   A.   Well, like I said, I would have no reason to
17       brought into the grievance which I will            17        bring to Rodriguez anything about the forms
18       point out.                                         18        other than we're not being fed. I told him
19                   I was always under the impression      19        that since the whole time that he's been
20       that Deacon Joe O'Toole was the head deacon        20        coming with O'Toole, I told him that we're
21       down here, because as I told you before,           21        not being fed our meals.
22       there was three deacons, Deacon O'Toole,           22   Q.   Okay.
23       Deacon Rodriguez, and Deacon Pat. So the           23   A.   And he would say, you know, "I'll take this
24       one year after I had known that Deacon             24        up with Bishop Jenky," you know.
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          4:18-cv-04063-SEM-TSH4:18-cv-04063-SEM-TSH
                                             # 12131 ge#10
                                                        133of 66Page 15 of 28                             39
  1    Q. Okay.                                       1      being fed, because the people who's supposed
  2    A. Why take it up with Bishop Jenky? You need 2       to have our back, Deacon Rodriguez , Deacon
  3       to be taking that up with Chaplain Rojas.           3       O'Toole, and Deacon Pat, and Bishop Jenky
  4    Q. And did you -- when did you first mention to        4       and Joe Lahood is not even going to bat with
  5       Rodriguez that he needs to take this issue          5       us. So it's understood why the Illinois
  6       up with Rojas?                                      6       Department of Corrections isn't following
  7    A. Well, like I said, I talked to him since I           7      the administrative directive, because we
  8       been here, because Rodriguez - Rodriguez             8      have no one speaking on our behalf.
  9       was here before I transferred into Hill              9   Q. Okay. So your primary concern -- and I'm
 10       Correctional Center. So he was here before          10      trying to rephrase this, so correct me if
 11       '05. But since I've been here, I've always          11      I'm saying something wrong. Your primary
 12       talked to Rodriguez and O'Toole and Deacon          12      concern with Rodriguez and Lahood is that
 13        Pat about not being fed the Lent meals.            13      they are part of the Catholic religious
 14    Q. Okay. So you talked to them about not being         14      leadership, and they're supposed to take
 15       fed about the Lent meals, but did you ever          15      care of you, and they're not taking care of
 16       tell Rodriguez that he needs to talk to             16      you by talking to the state or the --
. 17       Rojas?                                             17   A. They're not - to me they're not doling what
 18    A. No, that wasn't until 2016.                         18      they supposed to be doing, and that's
 19    Q. 2016?                                               19      advocating for us and seeing that we are fed
 20    A. Because he's a deacon for sure now that I           20      a Lent meal.
 21       know of.                                            21   Q. Okay. So theirs is a failure to advocate --
 22    Q. Okay. And in 2016 you told Rodriguez that           22   A. And saying we're exempt. That's a big slap
 23       he needs to talk to Rojas?                          23      in the face when they say we are exempt.
 24    A. Yes.                                                24      Only one that can say you're exempt from not



                                                         38                                                        40
  1    Q. Do you know if he ever did talk to Rojas?            1      receiving a meal, and that's God, and that's
  2    A. He said he would, but I can't say that he            2      in any document. But, you know, for someone
  3       did or he didn't.                                    3      to do that, they're infringing on your right
  4    Q. Okay. So you're not sure if he actually did          4      to practice in the freedom of your religion
  5       follow up on that?                                   5      how you choose to practice, you know.
  6    A. Yes, I'm not sure.                                   6   Q. Okay. So clearly there's a problem with the
  7    Q. Okay. So why exactly did you bring suit              7      way -- in your opinion, again I don't know,
  8       against Rodriguez?                                   8      in your opinion clearly there is a problem
  9    A. Because he know -- he knew of this and he's          9      with the way Rodriguez is providing
 10       done nothing. And just like the smart               10      religious services here at the correctional
 11       answers that he gives us in the                     11      center?
 12       interrogatories and production of documents         12   A. I say this, and it's nothing personal,
 13       is like, you know, why are we even                  13      because I honestly do respect Deacon
 14       Catholics, because they state they don't            14      Rodriguez and Deacon O'Toole and Deacon Pat
 15       even advocate for us. It's like because             15      with the utmost respect. Service is great,
 16       we're prisoners, we don't get fed? We're            16      good gentlemen. But outside of going to bat
 17       not able to be redeemed for our sins, you           17      for your parishioners that you come out here
 18       know what I'm saying? But you're bringing           18      for, because I know it's tax free, they come
 19       communion in here, you know. You're giving          19      out here for a reason, you know what I'm
 20       us the bread and you're giving us the blood         20      sayin'? It's not just to come. But at the
 21       of Jesus, you know what I'm saying, but yet         21      same token you comin' into the institution,
 22       you say that we're not entitled to a meal           22      you supposed to have our back, and you not
 23       and you don't advocate for us?                      23      doing that, so that's the problem . But
 24                   So I understood now why we're not       24      outside of that, they decent human beings I
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          4 :18-cv-04063-SEM-T SH # 1214l_    ge
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                                                 # 133
                                                 11 of 66 Page 16 of 28
                                                                                                           - --   -   -
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1         believe, but you should advocate for your          1           Rojas, but he may or may not have done it,
2         parishioners. That's like being an attorney        2           correct?
3         but you're not working for your client.            3     A.    Yes, because I don't know if he followed up
4    Q.   Right. Do you know if they're employed by          4           on it or not. He told us he would. But
5         the state in any way?                              5           it's a good thing we're at this too now
6    A.   No, they're not employed by the state.             6           because -- this just hit my -· this hit my
7    Q.   Okay. And as far as you know they're               7           head. The year -- it was the year that
8         volunteers?                                        8           Chaplain Rojas finally circulated the forms
9    A.   Yeah.                                               9          for the religious meal that was 2018.
10   Q.   Now, they don't supervise anybody at the           10                        Now, Deacon Rodriguez has stood
11        prison, right, in terms of --                      1.1         before the choir and told the congregation
12   A.   Yes, they supervise.                               12          that night that we would not be getting a
13   Q.   Who do they supervise?                             13           non-meat meal. It's been told to him, you
14   A.   They supervise the inmates that's at               14           know what I'm saying, that this problem is
15        service. Because if there is like so much          15          just not happening here at Hill Correctional
16        talking -· I've seen Rodriguez and his wife        16           Center, but it was happening throughout the
17        take contraband off of inmates, which              17           state of Illinois, so there's no need to
18        that's - they're not supposed to do. If            18           keep asking them about a Lent meal for it's
19        you see some contraband being passed, if           19           not gonna happen.
20         you're a deacon or something like that, it's      20                        Well, it's strange that he stated
21         not up to you to take that contraband off         21           that, because right when he stated that we
22         that person. You have the right by being          22           let it be known that Rojas after that send
23         the deacon to go and inform the officer           23           us the forms to fill out.
24         that's out in the hallway, "Hey, there's          24                        And I told him, "I thought when
                                                             ' - -- - -- -- - - - - -·- - - - --

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          some interruption in the service. There's          1           you told the congregation that they wasn't
2         guys passing contraband that shouldn't be          2           gonna honor it, it wasn't being honored,
3         here. Can you go get that off them?"               3           Rojas sent out the form."
4                     But when you step in and take the      4                       He said, "Oh, Rojas send out the
5         role and you're a security guard and you           5           form?"
6         remove something off an inmate, you know           6                       I'm like, "Yeah."
7         what I'm saying, yeah, you're doing more           7                       He said, "What did you guys do
8         than what you're supposed to be doing.             8           with the forms?"
9.   Q.   Any other way that he supervises anybody?          9                       I said, "We filled them out and
10   A.   Other than taking contraband from people and       10          sent them back to Rojas."
11        maybe taking a person off the list for maybe       11    Q.    Okay. But, of course, he can suggest to
12        talking at service, disrupting the service         12          Rojas, but not direct him, correct?
13        or anything like that, that's the only thing       13    A.     I don't know how that works.
14         I see that, you know.. .                          14    Q.    Okay. Well, why didn't you sue O'Toole?
15   Q.   Does he supervise any employees here at the        15    A.    Well, I'm not saying that I'm not going to.
16        facility?                                          16     Q.    Okay.
17   A.    Nah, nah, they don 't supervise.                  17    A.     I might amend him. I might to amend him.
18   Q.   Can he direct any employee to do anything?         18     Q.    But why didn't you so far?
19   A.    He can suggest. I can't say he's -- he's          19    A.    Because, and I said that in my paperwork, he
20         not -- he can -- he can only suggest, give a      20           hoodwinked me. Because when he told me that
21        suggestion, and it's up to them if they want       21           he's not the head deacon in charge, that
22        to follow through with it.                         22           Robert Rodriguez is, that put all my focus
23   Q.   So again, so your concern with Rodriguez is        23          on Robert Rodriguez, because I'm like,
24        that he could have suggested to Chaplain           24           "Since I been knowing, you've been the head
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                        4:18-cv-04063-SEM-TSH
          4:18-cv-04063-SEM-TSH    # 1214i   ge#12
                                                 133   Page 17 of 28
                                                   of 66                                                                 47
 1      deacon here."                                            1   A.  Well, depends on how he would ask -you
 2                  And he's like, "Well, no, Deacon             2       said if he were to ask a question or
 3      Rodriguez is the head deacon in charge."                 3       something like that, it would pertain to
4    Q. Okay.                                                    4       what the question might be, you know.
 5   A. And now I found out that he's still the head             5   Q. Did he ever order you to do something that
6       deacon of Henry Hill Correctional Center,                6       was something that the prison should have
 7      meaning O'Toole. That's why I said I might               7       done?
8       amend him.                                               8   A. Not offhand that I can think of at the
 9   Q. Now, let me ask you what your impression is              9       moment.
10      about Rodriguez. Do you think he works for              10   Q . So anything he was saying to you was more
11      the state?                                              11       from the religious perspective?
12   A. No, I know he don't work for the state.                 12   A. Yes.
13   Q. Okay. At any point did you feel that he was             13               MR. AHMAD: I don't think I have
14      acting on behalf of the state or under state            14         anything more.
15      power?                                                  15               MR. ANKNEY: Mr. O'Neal, we met
16   A. No, I just say he wasn't acting period as               16         earlier.. I represent the defendants who
17      far as doing what he should have done for               17         are employed by the State of Illinois in
18      Catholic parishioners.                                  18        this case.
19   Q. Right. Or acting or not acting, do you feel             19
20      like he was doing it under state power?                 20   EXAMINATION BY MR. ANKNEY:
21   A. I don't know why he was doing what he was               21   Q. Earlier you said you were Catholic, correct?
22      doing.                                                  22   A. Yes.
23   Q. But the whole time he was just acting as a              23   Q. Is that Roman Catholicism or a different
24      deacon of the Catholic Church and not on                24       form of Catholicism?



                                                     46                                                                      48
 1        behalf of the state, correct?                          1   A.       Roman.
 2   A.   Like I said, I don't know how he was acting.           2   Q.       All right. So while you have been
 3   Q.   No, no, but the thing is under your                    3            incarcerated at Hill Correctional Center,
 4        impression it's not like he was a state                4            what have you done to practice being
 5        employee, it's not like he was doing •·                5            Catholic?
 6   A.   I already answered that. I know he's not a             6   A.       I go to service every Tuesday.
 7        state employee, because he don't wear a                7   Q.       What do you mean be "service"?
 8        uniform.                                               8   A.       Catholic services.
 9   Q.   Right.                                                 9   Q.       Like a mass?
10   A.   He's a deacon.                                        10   A.       No, you only have mass once a month. That's
11   Q.   Right.                                                11            when the priest comes in. Like Deacon
12   A.   But he does come in the institution and,              12            Rodriguez, he's not a priest, so he can't
13        like I say, he brings communion in here, you          13            hold -- there's certain rituals that he
14        know what I'm sayin', but he's not employed           14            cannot oversee. Only one that can oversee
15        by the Illinois Department of Corrections.            15            certain rituals such as that would be like a
16        If that's your question, that's my answer to          16            priest, and that only happens once a month.
17        your question.                                        17   Q.       So you have Catholic services on every
18   Q.   Okay. So if heweretoorder-- andagain                  18            Tuesday?
19        I'm just trying to get your impression, if            19   A.       Yes, some form of Catholic services, whether
20        he were to order you to do something, would           20            you have a Cursillo or Ultreya or a regular
21        you feel like he's ordering you to do that            21            Catholic service, and then you have Catholic
22        as a deacon or as somebody from the prison?           22            mass.
23   A.   It could be looked at both ways.                      23   Q.       Cursillo. What was the second one?
24   Q.   Well, how did you look at it?                         24   A.       Ultreya, slash Ultreya, U-L-T-R-E-Y-A.
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             4:18-cv-04063-SEM-TSH 4:18-cv-04063-SEM-TSH
                                                     # 1214l  # 133
                                                             ge       Page 18 of 28
                                                                13 of 66                                          51
     Q.     And there was a third one was there?              1      or mind.
2    A.     You got Catholic mass, regular Catholic           2 Q. All right. What other things have you done
3           service. And the Catholic/Ultreya which is        3      while you were at Hill to practice being a
4           the Catholics and Christians coming together      4      Catholic?
5           on the third Tuesday to integrate with one        5 A. Other than just going -- going -- going to
6           another.                                          6      service and reading the good book, the word,
7    Q.     So have you gone to Catholic services of          7      that's it.
8           some sort every Tuesday -                         8 Q. You read the Bible?
9  A.       Yes.                                              9 A. Yes.
10 Q.       -- since you've been incarcerated?               10 Q. So you have access to a Bible?
11 A.       Well, you know, there's times like, you          11 A. Yes, I have a Bible.
12          know, where the institution will be on           12 Q. Where is that, where is the Bible?
13          lockdown or somethin' and we can't make it       13 A. In my room.
14          to service, but for the most part yes.           14 Q. So you're allowed to have a Bible in your
15 Q.       And so the Cursillo, is that on Tuesday as       15      room?
16          well?                                            16 A. Yes. You can get one at the service. They
17 A.       Yes, everything is on Tuesday, except now        17      provide it.
18          there is another service which we just did,      18 Q. Is prayer a part of something you do to
19          and that was in I want to say -- it's been       19      practice being Catholic?
20        · put off for so long. It's been for like two      20 A. Yes, of course.
21          years they took it out of admission, so we       21 Q. Have you done that while you've been at
22          just had it, but that's another Ultreya, and     22      Hill?
23          that takes place on a Friday and ends on a       23 A. Yes.
24          Sunday.                                          24 Q. Where do you do your prayers?



                                                    50                                                                 52
     Q. What do you do at Ultreya?                            1    A. In my cell. And we pray at church as well.
2    A. At Ultreya we fellowship with, like I said,           2    Q. And during each of the services?
3       the Christians, and we go over certain                3    A. Yes.
4       things as far as pertaining with the Bible            4    Q. Are there any other documents that you have
5       as whatever is instructed at that time,               5       that help you practice your religion?
6       whatever they bring in. You know, it varies           6    A. No. Because like I say, you know, when you
7       from whoever is the head speaker that night.          7       say "practice your religion" it's on the -
8    Q. And what happens at Cursillo?                         8       person in general to -- how you choose to
9    A. Again, people from the outside, volunteers            9       practice.
10      come in. They'll say what's going on in               10                 Like you and I both can be
11      their life. And they'll present you with              11      Christians and you could lay back and say,
12      questionnaires, usually three questions as           12       "Well, you know, I gotta work on Saturday
13      to like, you know, what have you done to pay         13       and Sundays _  because I have to feed my
14      it forward in Christ, what do you plan to            14       family."
15      do, you know what I'm saying.                        15                  And I can say, "Well, I'm
16                  And whatever the question is, you        16       Christian and I don't work on Saturday and
17      know, and you'll come up. You don't have             17       Sundays because that's my day of rest, so I
18      to, but, you know,. the questions will be up         18       refuse to work on Saturday and Sundays."
19      there, and if you feel that you have                 19                  So it's all a personal choice on
20      anything to add, you'll go up there and              20       how you choose to practice.
21      speak on the three questions. And you don't          21    Q. So are you allowed to work Saturdays and
22      have to to answer the three questions. You           22       Sundays?
23      can pick one out of the three, but you'll go         23    A. I don't work period because they refuse to
24      up there and speak whatever is on your heart         24       give me a job due to I filed the lawsuit
                                                                                                   -   - - -   -
                        4:18-cv-04063-SEM-TSH
           4: 18-cv-04063-SEM-TSH              # 133
                                    # 1215) Pcge        Page 19 of 28
                                                 14 of 66                                          55
1         against the State of Illinois, the   1      last Friday?
2         Department of Corrections.           2 A. Last Friday. I would have to look on the
3    Q.                                        3
          We actually also talked about some dietary  meal, because see now they give fish --
4                                              4 Q. On Fridays?
          restrictions earlier that you have as a
5         Catholic, correct?                   5  A. -- on Fridays.
 6   A.   Yes.                                 6 Q. On every Friday?
 7   Q.                                        7 A. On every Fridays it's fish now.
          And you, I believe you said, aren't allowed
 8        to have meat on Fridays?             8 Q. And how long have they been serving fish on
 9   A.   Right.                               9      Fridays?
10   Q.   Have you ever eaten meat on Friday? 10 A. It's probably been maybe I would say for the
11   A.                                       11
          Yes, I've aten (sic) meat before. I'm not   last year. But see the thing is about that
12                                            12
          going to lie. I've eaten meat before, yes,  is, this is the catch, they -- how Friday
13                                            13
          because sometimes you don't have nothin ' toyou have it, you'll have Friday, you'll have
14                                            14
          eat, you know, if you don't have a job, you fish for lunch, but then at dinner they're
15                                            15
          know, so you're forced to break your -- whatgiving you Polish sausage or spaghetti with
16                                            16
          your -- your tradition, what you believe in.meat or something, you know what I'm saying?
17   Q.   Are you talking about prior to being17                   But since this lawsuit's been
18        incarcerated, that was when you -   18      filed, for whatever reason this last year
19   A.                                       19
          No, I'm talking about being incarcerated.   they try to get the fish in there either at
20                                            20
          In the free world, you know, you practice   lunch or at dinner. But whichever one
21                                            21
          however you want to. You can practice any   you're going to get it, you can rest assured
22                                            22
          way you want to in jail too, but in here youthe other meal is going to consist of a meat
23        limited to so many things.          23      meal in that serving of that meal that
24   Q.                                       24
          All right. Can you tell me a little bit     night. Or at breakfast time.



                                                         54                                                                 56
1       about the process of how you go about                           Q. So what types of meats do they serve you on
2       getting your meals every day?                         2               Fridays?
3    A. Well, you know, you go to the cafeteria.              3         A.    Like I said, Polish, hamburger. meatballs.
4        But like I say, for instance, if -- like you         4               What else, some stuff they give you over
5       have Muslims and you have Jewish. So                  5               there? Different like beef stew or things
6       they're fed - whatever their tradition is,            6               that just have meat in it in general.
 7      they're fed yearly. So the form they fill             7               Different type of dishes.
 8      out, it's already in the institution. So              8     Q.        Have you ever requested a vegan diet?
 9      when you go to the chow hall, there's a               9     A.        Yes.
10      form. You're standing in line and you'll              10    Q.        You have?
11      go, "Well, I need a kosher tray."                     11    A.        Yes.
12                   "Well, who are your                      12    Q.        And do you have a vegan diet?
13                   'Tm Mr. Johnson."                        13    A.        No.
14                   And then they'll look on this and        14    Q.        Why not?
15      then they'll have you sign stating that you           15    A.        Because they wouldn't approve it.
16      just been served your kosher tray.                    16    Q.        What about a vegetarian diet, have you
17   Q. Sure. I understand that. So when you go to            17              requested that?
18      chow are there different meals that you can           18    A.        No, I wouldn't eat a vegetarian diet. We're
19      pick from?                                            19              supposed to get a vegan diet.
20   A. No.                                                   20    Q.        Why vegan specifically?
21   Q. So you have to eat whatever is --                     21    A.        Well, because from -- out of the three you
22   A. You don't have to eat it, but you have to             22              have a kosher, a vegan, and a lactose. You
23      take a tray.                                          23              see what I'm saying?
24   Q. Okay. So, for example, what did you eat               24    Q.        Yes.
          - --      -   - -   -                                    --        - --    - --          -   - - - - - -- -- --
                             4:18-cv-04063-SEM-TSH # 133                 Page 20 of 28
         4: 18-cv-O4O63-SEM-TSH # 1215,:                  Pc ge 15 of   66                                     59
1    A. So from my understanding we're supposed to           1      lawsuit. So if I don't got no money coming
2       get the vegan because we can't have the              2      in and my family is not sending me any
3       kosher because that's a meat. And the                3      money, you know what I'm sayin', there's
4       lactose is the one with the milk and all             4      certain times that you got to go over there
 5      that and the eggs and all that. So it's              5      and you got to pick around the stuff, you
6       always been, to my understanding, and taught         6      know what I'm sayin'. And it's bad that you
 7      to me that we're supposed to get the vegan.          7      have to do that because, you know, picking
 8   Q. Who told you that?                                   8      around it is like eating the meat. You
 9   A. That's what it's always been explained to me         9      might as well say you'r~ eating the meat.
10      through the Catholic teaching.                      10   Q. So the next question is for the time frame
11   Q. Do you have anybody specifically who told           11      concerning this lawsuit on what percentage
12      you that?                                           12      of Fridays were you able to have a meatless
13   A. Like I said, this has always been - that's          13       Friday?
14      what I've always been taught.                       14   A. Just up until this past year when they gave
15   Q. Okay. Where do you get your understanding           15      the pizza and the grilled cheese.
16      that you have to have meatless meals every          16   Q. I'm sorry, my question is for the time of
17      Friday?                                             17      this lawsuit -- I'm sorry, I'm just trying
18   A. Well, you just socked me with that one. No,         18      to figure out how to phrase it -- what
19       seriously - no, I think you're a good guy.         19       percentage of Fridays were you able to
20       Seriously, I was going to say, I just did an       20       personally not eat meat? Did that make
21       e-file yesterday, which I'm not sure, maybe        21       sense?
22      you all didn't - maybe you didn't receive           22   A. You say through the Fridays?
23      it, but you should have received it. And in         23   Q. Yes.
24      there is Exhibit 3 in there, and it states          24   A. Well, I won't eat the meat on the Fridays,



                                                     58                                                           60
 1        in there that Catholics are not supposed to        1      you know what I'm sayin'.
2         have meat at any Friday throughout the year.      2    Q. I understand. I was asking like so on
 3        So that's why you're saying why I did that,        3      90 percent of Fridays -
4         that's our teaching. And this comes from          4    A. More than that.
 5        the pope - not the pope, but the bishop.           5   Q. 95 percent?
6    Q.   AHright.                                          6    A, I would say that.
 7   A.   This come from Bishop Jenky . But I've known      7    Q. So like about 95 percent of Fridays through
 8        that since coming up in Catholic - Catholic        8      the course of this lawsuit you've been able
 9        school.                                            9      to not eat meat on Fridays?
10   Q.   How often do you eat meat on Fridays?             10   A. Yes.
11   A.   I don't.                                          11   Q. Okay. You've also said that you attended
12   Q.   You don't?                                        12      services on most Tuesdays, correct?
13   A.   Like I say, I have in the past. You're            13   A. Correct
14        saying like if t eat it. I don't eat meat         14   Q. And like what percentage of Tuesdays would
15        on Friday. I abstain from it.                     15      you say over the course of this lawsuit you
16   Q.   But you did say you did eat it on occasion        16      were able to attend services?
17        in the past?                                      17   A. I would say a good 90 percent.
18   A.   You're saying like a lot, you know. There's       18   Q. 90 percent? And what was the reason for the
19        times that you've had to break. Because I         19      10 percent that you missed?
20        don't want to lie to you. There's been            20   A. Whether the institution is on lockdown or I
21        times where you've actually had nothing in        21      might be in segregation and you can't make
22        your box, because I'm not working. You            22      it over to service due to you're on lockdown
23        know, I can't get a job because they're           23      in segregation maybe for a fight or what
24        retaliating against me because of the             24      have you, you know.
                                                         - --                   - - - - --- -          ---·--
         4:18-cv-O4O63-SEM-TSH4:18-cv-04063-SEM-TSH
                                               #  12161 ge # 133
                                                             16 of  66Page    21  of 28                     63
     Q. For the times that you were not able to go       1         or cold cereal, correct?
2       to a religious service did you suffer any       2 A. No, I wouldn't eat anything on the tray if
3       harm as a result?                               3          it had meat on it at the time.
4    A. Yes,  because   you can't go and fellowship     4     Q.   Are  they not separated?
5       with your fellow parishioners.                  5 A. They're separated. But that's like if you
6    Q.   So you lost out on fellowship. Is there             6       give a person who's Muslim and they don't
7         anything else you suffered harm-wise?               7       eat pork and you put pork on that tray,
8    A.   Harm-wise -- you're saying physical?                8       they're not gonna eat it. No matter if it's
9    Q.   Sure.                                               9       separated or not, they're not gonna eat it.
10   A.   No, harm-wise wouldn't be physical just             10   Q. On Fridays before they were serving the
11        because you wouldn't -- you didn't go to -          11      fish, on the days that you ate food, what
12   Q.   So no physical harm from missing a religious        12      percentage of the meals were you able to
13        service, correct?                                   13      eat?
14   A.   No.                                                 14   A. Usually I would say -- you say before?
15   Q.   I am correct?                                       15   Q. Yes, prior to the fish.
16   A.   You're correct as far as no physical harm           16   A. Prior? Well, if it consist of meat on a
17        done to the body, you know what I'm saying,         17      tray, you wouldn't -- you know, you pick
18        because you couldn't go to services that            18      your tray up and you won't eat it period .
19        night.                                              19      Like I stated with the Muslims, because we
20   Q.   Have you suffered any physical harm as a            20      would look at the tray as being
21        result of not being provided meatless               21      contaminated .
22        Fridays?                                            22   Q. Other than being hungry, what other harm did
23   A.   Yes, you know, because you're missing out on        23      you suffer from not getting your meatless
24        your main meal of the day.                          24      Fridays?
                                                                                                   - ---- - --

                                                         62                                                      64
1    Q. But what specifically is the harm that you             1   A. You lose weight. Loss of weight.
2         would have suffered?                                2    Q. How much weight specifically did you lose?
3    A.   You're not eating. You're being denied to            3   A. Not a lot. But you gotta figure, you know,
4         be fed. It's like going to bed hungry, you          4       you are losing -- you are losing a
 5        know, on an empty stomach.                           5      percentage of weight, you know.
 6   Q.   Prior to when they were serving fish as one          6   Q. Do   you know how much weight you lost over
 7        of the meals on Fridays were you able to eat         7      the course of the --
 8        the breakfast trays?                                 8   A. I can tell when I would go for my physical.
 9   A.   Depending on what was served at breakfast.           9      you could see it fluctuate from going up and
10   Q.   So like, for instance, what is something            10      down.
11        that would be provided --                           11   Q. And what would you say the most amount of
12   A.   Like say some days on Fridays you might get         12      weight you lost was?
13        dry cereal or you might get hot cereal and          13   A. Probably about like maybe 5 pounds or
14        no meat at all.                                     14      something.
15   Q.   Sure.                                               15   Q. And how do you know specifically that was
16   A.   And then maybe the next Friday you might            16      because of the not having meatless Fridays?
17        have hot cereal or cold cereal with a               17   A. I would say it played a great part in it.
18        sausage patty.                                      18   Q. Do you have any medical evidence to support
19   Q.   Sure.                                               19      that?
20   A.   Or turkey bacon, you know, something like           20   A. Yes, there's hospital records to show.
21        that.                                               21   Q. Just the fact that you lost the weight is
22   Q.   Okay. So on those days that you would have          22      what you're saying?
23        hot or cold cereal and turkey bacon, for            23   A. Yes, because like I say, you could tell the
24        instance, you would be able to eat the hot          24      difference in the fluctuation, because when
                                                                                       - --    -   ----   --
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                        4:18-cv-04063-SEM-TSH
          4:18-cv-04063-SEM-TSH    # 1216!   ge#17
                                                 133
                                                   of 66Page 22 of 28                                               67
          I would go over there, they would weigh you.      1       allegations unrelated to Mr. Rojas not
2         Oh, it's going down, you know.                    2       providing meatless Fridays in your
3    Q.   Has any doctor ever told you that your            3       Complaint, are you no longer proceeding with
4         approximately 5 pounds of weight loss was a       4       those claims?
5         result of --                                      5 A. At this time I'm not sure. There's some
6    A.   No, they don't tell you what it's about.          6       things that I could amend, you know, and I
7         They'll just let you know that, you know,          7      would rather not speak on that right now.
8         since they last seen you, you lost some            8   Q. I believe in your Complaint you mentioned
9         weight.                                            9      something about missing a Cursillo --
10   Q.   Sorry, and I didn't finish my question. So        10 A. Yes.
11        just to make sure we get a clear answer, no       11 Q. - because of Chaplain Rojas?
12        doctor has ever told you that the weight          12 A. . Yes.
13        loss you suffered was a result of you not         13 Q. Is that a claim you're proceeding on in this
14        getting meatless Fridays?                         14      case?
15   A.   No.                                               15 A. Yes, because he retaliated against me, if
16   Q.   Okay.                                             16 .    that's what you're speaking of, retaliation.
17   A.   Because they don't know nothing about             17      Yes, because he took me out of service for
18        meatless Fridays.                                 18      speaking out and speaking up for not being
19   Q.   Other than what we've just discussed is           19      fed.
20        there any other harm you suffered as a            20 Q. All right. So let's talk a little bit about
21        result of not getting meatless Fridays?           21      the Cursillo, being removed from Cursillo as
22   A.   Not offhand.                                      22      you say. Could you just explain to me what
23   Q.   Okay. What specifically is your claim or          23       happened there?
24        your claims against Chaplain Rojas?               24 A. Well, after I had spoke to him about not




                                                       66                                                          68
1    A.   He didn't -- he didn't provide the meals                    being fed and him feeding all the other
2         that he was supposed to, let alone send the       2         religions, you know, and I felt as though,
3         forms out so that the meal could be provided      3         you know, he was discriminating against the
4         into 2018, which I've already--                   4         Catholics, you know, that's when he became
5    Q.   So he didn't provide meatless Fridays for          5        upset. And this is how all this pretty much
6         you?                                              6         took off is from that moment on when I was
7    A.   Nor circulate the forms for us to fill out         7        ready to go to service the Tuesdays, I'm the
8         as he was doing so forth for the other             8        only one left in the cell.
9         religions.                                         9                    So I'm telling the guys that I
10   Q.   And did not provide the forms.                    10        fellowship with, "Well, can you go down
11                    Is there anything else you're         11        there and tell them to let me out, because
12        saying that Rojas did to you as it relates        12        they haven't hit my door yet."
13        to this lawsuit?                                  13                    So they go went down there and
14   A.   Well, other than getting verbal when I            14        say, "Mr. O'Neal say he's on the list, could
15        brought this to his attention and the             15        you let him out?"
16        wagging with the finger in the face and, you      16                    They said, "Well, we don't see
17        know, trying to, you know, cause a scene,         17        that he's on the list. Tell him that we
18        you know.                                         18        can't let him out."
19   Q.    Is there anything else he did to you as it       19                    I'm like, "Who's down there in
20        relates to this lawsuit?                          20        control," because all the officers know. I
21   A.   No.                                               21        been here for so long, they know I go to
22   Q.   Nothing else?                                     22        service.
23   A.   No.                                               23                    They said, "Well, you know, we
24   Q.   If you included something else, other             24        know that he goes to service, but we don't
                                                     --          · -- -              - - -- - - -         -   - -
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              4:18-cv-04063-SEM-TSH # 1216l     ge #
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                                                      of 66Page 23 of 28                                                71
1             know if he's been took out for a reason or        1         through it again. It's back that way
2             whatnot. If his name is not on that list,         2         somewhere. Here we go, right there
3             we cannot let him out."                           3         (indicating).
4                        So I had to write to Chaplain          4    Q.   In the Complaint --
5             Rojas and ask him why has my name                 5    A.   Is that I, I think?
6             mysteriously disappeared off the Catholic         6    Q.   -· you attach as an exhibit Exhibit I,
7             chapel's approved list. I haven't done            7         Plaintiff's Exhibit I?
8             nothin' to be taken off the list.                  8   A.   Yes.
9                        And that's when he wrote me a memo     9    Q.   So this is the memo he sent you about your
10            stating that, you know, whatever that crazy       10        removal from Cursillo?
11            excuse he used, innuendos as to why I was         11   A.   That's your answer right there, him taking
12            taken off the list.                               12        me out of service.
13   Q.       Okay. So you're saying that he retaliated         13   Q.   So the first time he ever took you out of
14            against you for complaining about --              14        service was in early 2016 it looks like?
15   A.       Religious diet. Religious diet.                   15   A.   Yes.
16   Q.       And --                                            16   Q.   And how many Cursillos did you miss?
17   A.       He thought I was -- so I guess he felt as         17   A.   It took awhile before I got back in there.
18            though if I get rid of this guy, that will        18        It was -- it was some months. I couldn't -
19            silence everything, and it wasn't that easy.      19        I can't -
20   Q.       When did you complain to him about not being      20   Q.   There's only one Cursillo a month, correct?
21            on a religious diet?                              21   A.   Yes, but like I said, it was some months
22   A.       I complain to him every year throughout this      22        before I got back.
23            proceeding.                                       23   Q.   So do you know approximately how many
24   Q.       For how long?                                     24        months?



                                                           70                                                        72
1    A.       Since 2005 up until he retired.                        A.  I would say at least six to eight months
2    Q.       So you had been complaining to him about not      2        easy.
3             getting a religious diet since 2005?              3    Q. And do you know if there was a Cursillo that
4    A.       And being provided the form to receive a          4        was held each of those months?
5             religious diet.                                   5    A. Yes.
6    Q.       And you're saying as a result of that --          6    Q. Which months did you miss?
7    A.       I was taken out of service.                       7    A. All the ones from that point on until I was
8    Q.       And when did he take you out of service?          8        placed back on the list. And that's
9    A.       It's in the Complaint.                            9        another - I would probably have to write to
10   Q.       Do you remember what year it is?                  10       find out exactly when my name was
11   A.       It's 2016 I believe. You can refer to the         11       resubmitted to go back on the list, because
12            grievance. It's in the grievance. As a            12       eventually he did put me back on. But I
13            matter of fact, you can go to the memo in         13       just can't tell you offhand what date that
14            there. I think that memo is --                    14       was that he decided to place me back on the
15   Q.       Is the grievance you're talking about             15       list.
16            (indicating)?                                     16   Q . And what reason did he provide you for --
17   A.       Yeah, but I -- yeah, that's the grievance,        17   A. It's right there.
18            but it's more with the memo it tells you          18   Q. Okay. Well, let's - here, you can look at
19            exactly when he took me out --                    19       it. So what reason did he provide you
20   Q.       You're talking about the Complaint you            20       for --
21            initially filed?                                  21   A. Well, off the top of my head -- he told me
22   A.       Yes. It's in the memo that he sent me back        22       he took me out of service he said because he
23            confirming that he did, in fact, take me out      23       was having problems with the TA's slips and
24            of service . I just seen as you was going         24       you couldn't use them anymore and that he
                                                                                                             - - ----
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           4:18-cv-04063-SEM-TSH    # 12111   ge #19133
                                                     of 66Page 24 of 28                                           75
1         had to give new people the opportunity that       1         accommodating Muslims to come to service.
2         he gave -- once gave me when I first entered      2                     But this was a ploy to get me out
3         the institution. So by me attending service       3         of service, because there was plenty of
4         for 11 years, I've been going too long, so        4         room. Like I stated in there, that's why I
5         now it's time to let some new people come          5        started asking questions for Freedom of
6         in.                                                6        Information to be provided with all the
7                     And I'm like that's unheard of         7        people that he give call passes to that
 8        because there's no such thing as taking a          8        don't even attend service.
 9        person out of service for going. Because if        9                    So there was never a problem with
10        that's the case, I wouldn't have attended         10        the space, because I knew of plenty of guys
11        during that time for 11 years if there was a      11        that was on my wing that were Catholic but
12        problem with me going to service. It didn't       12        would rather go to yard or rather just hang
13        become a problem until I started speaking         13        out on the wing rather than to go and
14        out about not being fed and not being             14        worship.
15        provided the slips to be fed that I was           15   Q.   Cursillo is a nondenominational service,
16        taken out.                                        16        correct? It's not Catholic specific?
17                    And then he came later after he       17   A.   Yes, it's Catholic and Christian.
18        gave that excuse as to the reason I was           18   Q.   And Christian. So other denominations -
19        taken out to give the new ones a chance and       19   A.   Well, Catholics are Christians.
20        a TA thing.                                       20   Q.   Sure. But I'm saying other denominations of
21                    Then he said after he spoke to the    21        Christianity can go to Cursillo?
22        administrators here, "Well, the only way you      22   A.   Christians can go and Catholics can go.
23        gonna get around that is if you say that it       23        Muslims can't go. Judaism can't attend.
24        was due to a security reason."                    24        ldinism or Odinism, they can't attend. It's




                                                       74                                                         76
                     "You never stated it was a              1      just the Catholic and Christian worship.
 2       security reason."                                   2   Q. If a Muslim were interested in potentially
 3                   But later he back-pedals and he         3      becoming Catholic , would he be allowed to go
 4       tells me in one of the answers or something         4      to Cursillo?
 5       like that, he states in there that I was            5   A. He would have to change his denomination
 6      taken out for security reasons.                      6      before attending that service, and there's a
 7                   And you stated right there in your      7      form for that in there as well. Which
 8       memo when it was fresh in your mind exactly         8      Chaplain Rojas did have Muslims at that
 9      why I was taken out, and it had nothing to           9      service, which I pointed out, which was
10      do with security reasons.                           10      taking up seats, if you wanted say that
11                   That didn't come until after he        11      there was a problem with seats being
12      had spoken to wardens and so forth.                 12      available. You've got Muslims right here
13   Q. If there were only a certain amount or a            13      sitting in a Catholic service that shouldn't
14      certain number of people who were allowed to        14      be here.
15      participate in Cursillo on a given Tuesday          15   Q. So while you've been at Hill, non-Catholics
16      and more people than were allowed to                16      and non-Christians have been allowed to go
17      participate signed up, somebody would have          17      to Cursillo?
18      to be excluded, correct?                            18   A. Yes. And Muslims.
19   A. No. See that's not how that works, because          19   Q. Yes. People who were not Christian.
20      the Catholic service is not a service that          20   A. Right. Have been allowed. And that was
21      has a lot of p~rticipants to begin with.            21      against the rules and regulations, but they
22                   The Muslim service outdoes the         22      have been allowed to attend.
23      Catholic service three times the amount and         23   Q. Where does Cursillo come from?
24      they have never had a problem with                  24   A. Well, it's been taught to us that it was two
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         had to give new people the opportunity that         1        accommodating Muslims to come to service.
2        he gave -- once gave me when I first entered        2                   But this was a ploy to get me out
3        the institution. So by me attending service         3        of service, because there was plenty of
4        for 11 years, I've been going too long, so          4        room. Like I stated in there, that's why I
5        now it's time to let some new people come           5        started asking questions for Freedom of
6        in.                                                 6        Information to be provided with all the
7                    And I'm like that's unheard of          7        people that he give call passes to that
8        because there's no such thing as taking a           8        don't even attend service.
9        person out of service for going. Because if         9                    So there was never a problem with
10       that's the case, I wouldn't have attended           10       the space, because I knew of plenty of guys
11       during that time for 11 years if there was a        11       that was on my wing that were Catholic but
12       problem with me going to service. It didn't         12       would rather go to yard or rather just hang
13       become a problem until I started speaking           13       out on the wing rather than to go and
14       out about not being fed and not being               14       worship.
15       provided the slips to be fed that I was             15    Q. Cursillo is a nondenominational service,
16       taken out.                                          16       correct? It's not Catholic specific?
17                   And then he came later after he         17    A, Yes, it's Catholic and Christian.
18       gave that excuse as to the reason I was             18    Q. And Christian. So other denominations --
19       taken out to give the new ones a chance and         19    A. Well, Catholics are Christians.
20       a TA thing.                                         20    Q. Sure. But I'm saying other denominations of
21                   Then he said after he spoke to the      21       Christianity can go to Cursillo?
22       administrators here, "Well, the only way you        22    A. Christians can go and Catholics can go.
23       gonna get around tllat is if you say that it        23       Muslims can't go. Judaism can't attend.
24       was due to a security reason."                      24       ldinism or Odinism, they can't attend. It's




                                                        74                                                         76
                     "You never stated it was a               1       just the Catholic and Christian worship.
 2       security reason."                                    2    Q. If a Muslim were interested in potentially
 3                   But later he back-pedals and he         ·3       becoming Catholic , would he be allowed to go
 4       tells me in one of the answers or something          4       to Cursillo?
 5       like that, he states in there that I was             5    A. He would have to change his denomination
 6       taken out for security reasons.                      6       before attending that service, and there's a
 7                   And you stated right there in your       7       form for that in there as well. Which
 8       memo when it was fresh in your mind exactly          8       Chaplain Rojas did have Muslims at that
 9       why I was taken ouit, and it had nothing to          9       service, which I pointed out, which was
10       do with security reasons.                           10       taking up seats, if you wanted say that
11                   That didn't come until after he         11       there was a problem with seats being
12       had spoken to wardens and so forth.                 12       available. You've got Muslims right here
13   Q . If there were only a certain amount or a            13       sitting in a Catholic service that shouldn't
14       certain number of people who were allowed to        14       be here.
15       participate in Cursillo on a given Tuesday          15    Q. So while you've been at Hill, non-Catholics
16       and more people than were allowed to                 16      and non-Christians have been allowed to go
17       participate signed up, somebody would have           17      to Cursillo?
18       to be excluded, correct?                             18   A. Yes. And Muslims.
19   A. No. See that's not how that works, because            19   Q. Yes. People who were not Christian.
20       the Catholic service is not a service that          20    A. Right. Have been allowed. And that was
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22                   The Muslim service outdoes the          22       have been allowed to attend.
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24       they have never had a problem with                  24    A. Well, it's been taught to us that it was two
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                                4:18-cv-04063-SEM-TSH
                  4:18-cv-04063-SEM-TSH   # 12111   ge #20133
                                                           of 66Page 26 of 28                                                79
                  guys that faced execution I think it was in         1       want to be Jew? They're searching.
2                 Texas, and they did a prayer in their cell,         2    Q. Sure.
3                 and it was before they was put to death.            3    A. So they'll give you that time to figure out,
4                 And for whatever reason the Catholics took          4       well, do I want to - you know, do _Iwant to
5                 that upon themselves to implement that in           5       go here, do I want to go there. There's
6                 the teachings of the Catholic faith, and            6       forms for that. But once you decided which
7                 that's something that they honored                  7       one you want to stick with, that's what you
8                 throughout the Catholic teachings. So it's          8       gotta stick with. And you might have to
9                 been - it's been going on for quite some             9      stick with that for a year or so before you
10                time, and it's being honored, you know.             10      change it. There's a time procedure for
11                That's how that come about, two guys.               11      that as well. But you can't just show up at
12       Q.       And do you know if the Catholic Church would        12      any service, like you said --
13                prohibit non-Christians or non-Catholics            13   Q. Sure. You have to sign up for the service,
14                from going to Cursillo?                             14      correct?
15       A.       If the Catholic Church?                             15   A. But you have to be approved as well. It's
16       Q.       The whole Catholic hierarchy.                       16      just not you sign up and you go.
17       A.       Would prohibit --                                   17   Q. Do you know if there's any rule at DOC
18       Q.       Well, you're saying it's a Catholic                 18       prohibiting offenders who are not Catholic
19                teaching --                                         19      or not Christian from going to Cursillo?
20       A.       Yes, right.                                         20   A. Yes, it states that in your sign-up sheet
21       Q.       So under Catholic teachings is it prohibited        21      when you first get here.
22                for non-Catholics or non-Christians to go to        22   Q. Where specifically?
23                Cursillo?                                           23   A. It's Exhibit A. It's Exhibit A and -- right
24       A.       Yes, they're not supposed to attend.                24       there {indicating). It should be Exhibit A




                                                                 78                                                          80
1        Q. And what do you base that on?                              1      or B it tells you.
2        A.       Because it's a Catholic Christian service.          2    Q. It looks like Exhibit B is Offender Request
3                 It's just like whatever the Muslim teaching         3       for Religious Diet. Exhibit A is just
4                 is, if a Catholic or a Christian shows up            4      saying --
5                 there, first and foremost, it's going to be         5    A. Right, which one --
6                 like what is this guy doing here? Is he a           6    Q. But my question was are you aware of any
7                 Muslim? No. Well, he can't be here.                 7       rule throughout the Department of
8        Q.       Okay.                                               8       Corrections or at Hill Correctional Center
9        A.       Because that's the teachings. I don't make          9       that says non-Catholics or non-Christians
10                the rules, you know.                                10      are not allowed to go to Cursillo?
11       Q.       Let's say I'm not Catholic and I one Sunday         11   A. Well, it states that in one of those
12                go to a Catholic church for mass. Are you           12      documents you can only attend one service,
13                telling me that they're going to say, no, he        13      you can only attend one service, that's it.
14                can't be here because he's not Catholic?            14      You can't -- you can't flip-flop and keep
15       A.       Well, see, that's the difference. Because           15      going to all of them without being given
16                you're out in the free society, so anyone           16      some type of permission to -- like I just
17                can walk in. Just as like you have the              17      told you, there's some guys that's
18                right here, you might write -- there's a way        18      undecided. But if you've decided what
19                of doing that, but that's a procedure that          19      religion you're following, you cannot --
20                the Catholic -- not the Catholic, through           20      you're not allowed to go to another service.
21                Chaplain Rojas must figure that out.                21      Those are the rules.
22                Because you have some people that don't know        22   Q. Okay. And as you said earlier, I believe ,
23                what they want to be. Do I want to be               23      you didn't suffer any physical injury or
24                Catholic? Do I want to be Muslim? Do I              24      harm from not being able to attend Cursillo,
     -        -   -   - -   - -   -   --   -   -   -
  ---          - -     -    ---- - - ---                       -- --                              --- --   --   --     ---
                         4:18-cv-04063-SEM-TSH
          4 :18-cv-04063-SEM-TSH               ge# 133
                                                   21 of  Page
                                                         66    27 of 28                                               83
      correct?                                                1           months you were never allowed to go to any
2 A. That's the answer.                                       2           Catholic religious service?
3 Q. Okay. Other than this memo that Mr. Rojas                3    A.     Only way I would be able to go to service,
4     sent you about not being able to attend                 4           if my name appeared on that list. If my
5     Cursillo, did Mr. Rojas ever talk to you                5           name appeared on that list, I was at
6     about why you weren't allowed to go to                  6           service.
7     Cursillo?                                               7    Q,     So do you know if you were actually able to
8 A. Everything me and Rojas talked about that                8           attend other services during those six- to
9     point on was always in documentation. So                9           eight-month period?
10    everything that he and I spoke about is a               10   A.     No.
11    part of the record, and it's in the                     11   Q.     You don't know?
12    grievance, or it's in the lawsuit. If it's              12   A.   · No, I know, but I wasn't - he didn't allow
13    not in the grievance, it's in the (sic)                 13          me in service. He took me out.
14    lawsuit, it didn't happen.                              14   Q.     So you're saying that for six to eight
15 Q. Okay. What did you do on those Tuesdays                 15          months you did not go to any Catholic
16    when you missed Cursillo?                               16          religious services?
17 A. Well,  I read my Bible. And I also would                17   A.     Not that I can recall.
18    talk to the brothers that was over at the               18   Q.     And that's in 2016?
19    service,   ask what was -- you know, who was            19   A.     Yes. Not that I can recall up until I was
20    the head speaker that night , what happened,            20          placed back on the list.
21    or this and that.                                       21   Q.     During those six to eight months were you
22                And they would always bring me the          22          able to do the other things that we
23 .  papers back of the three questions. I was               23          previously discussed that you do to practice
24    telling the gentleman earlier about the                 24          your religion?
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1         three questions that they would ask you.            1    A. Yes. You do that in the cell. It's like
2         And I would, you know, go over that in my           2       reading your Daily Bread and so forth, you
3         head as far as if I were at the service,            3       know, reading your Bible.
4         what would have been my response to that and        4    Q, Do you know if you were in segregation at
5         would I have answered all three of them, or         5       any point during those six to eight months?
6         which one had any, you know - what's the            6    A. I ain't been in seg. in I think like eight,
7         word I'm looking for -- any connection to me        7       nine years, something like that.
8         as far as if I would have spoke on it or            8    Q. Did Chaplain Rojas tell you why he placed
9         not.                                                9       you back on the list?
10   Q.   Okay. And Cursillo is once a month,                 10   A. No.
11        correct?                                            11   Q, Did you ask him?
12   A.   Yes.                                                12   A. I was surprised because I was back on the
13   Q,   So the other three Tuesdays also had                13      list because they came around one night and
14        services for each month?                            14      said, "O'Neal, are you going to chapel?"
15   A.   Yes.                                                15                  I said "I'm off the list."
16   Q.   So for each of the six to eight months that         16                  He said, "I got you on the list
17        you missed Cursillo were you allowed to             17      right here."
18        attend the other religious services?                18                  I said, "I can go?"
19   A.    No.                                                19                  They're like, "Yeah, your name's
20   Q.   You were not allowed to go to the services          20      on the list."
21        either?                                             21                  "I'm going to chapel then."
22   A.    My name was not on the list. When he took          22                  I don't remember what day -- what
23        me off the list, he took me off the list.           23      date that was, but for some odd reason he
24   Q.   So you're saying for those six to eight             24      put me back on the list.
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                                                    of 66Page 28 of 28                                            87
     Q. So for the six to eight months that you said       1       period is always posted in the chapel,
2        that you didn't go to services did you            2       because we all go in the chapel. You might
3        attempt to go to services each and every          3       have to take down certain shrines for
4        Tuesday?                                          4       certain services, but every service is held
5    A. Yes, I always checked to see if my name was        5       in that building, in that room next to where
6        on there.                                         6       Rojas's room was.
7    Q . Well, you just told me just now that              7                   There's a bulletin board up there.
8        somebody came around to your cell to say,          8      And on that bulletin board they'll say
9        "Are you going to chapel?"                         9       Ramadan is coming, everyone that wants to
10                   You didn't actually go to check       1O      join room Ramadan or come to Ramadan , sign
11       and see if you were on the list?                  11       up, make sure, you know, that you inform the
12   A. Like right now -- that's a norm. Once in a         12      chaplain.
13       blue moon, it depends on who the office_r is,     13                   But when it comes around to Lent,
14       how he choose to run his line. Like, you          14       it's not posted.
15       know, you might have an officer that come         15   Q. Okay. But you agree that prior to 2019
16       on, he might want to pass mail as soon as he      16       there was no special diet tray for Lent,
17       get done counting.                                17       correct?
18                   You might have an officer the next    18   A. No, because like I said, the meal that they
19        night that want to pass his mail out at          19       gave that year in 201 9, that was for the
20       9:00 in the night. It all depends on              20       whole institution.
21       whoever is working. You know, if an officer       21   Q. So you're saying there's never been a
22       wants to go around, find out who is going to      22       special diet tray for Lent, correct?
23        chapel that night so he can have all his         23   A. There's never been anything for Lent since
24        stuff squared away, he does his ordeal           24       I've been here.




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        different than other officers.                          Q. What is specifically your -- I'm sorry,
2                   Just so happened that night that       2         actually for Mr. Rojas is there anything
3       officer came arouncl and asked was I going to      3         else that you're claiming that he did to you
4       chapel. And the reason I know that so well         4         as it relates to this lawsuit?
5       is because the officer that told me -- you         5    A.   Like I said, if it's not in the grievance
6       over here was the officer that asked me            6         and it's not a part of the record, it didn't
 7      that, which was Gutierrez.                         7         happen.
 8   Q. Prior to 201 9 do you know if Illinois             8    Q.   Okay. But other than what we've discussed
 9      Department of Corrections at Hill                  9         today-
10      Correctional Center had a meatless option          10   A.   It didn't happen if it's not in the
11      for Lent?                                          11        grievance or it's not in the lawsuit.
12   A. No, they didn't have anything for Lent.            12   Q.   As you sit here today do you know of any
13   Q. So then would there have been any purpose of       13        other claims that you have against
14      sending around the form for a meatless             14        Mr. Rojas?
15       Friday since that wasn't a meal that was          15   A.   Just a retaliation claim and him not feeding
16      offered?                                           16        the Catholic parishioners or submitting the
17   A. Like I said, that's -- that's the rules, you       17        slips to be fed, the request slips to be
18       know. They're supposed to send those forms        18        fed.
19       out. That's just like the Muslims. And see        19   Q.   What specifically are your claims against
20       that's another thing that's good that you         20        Stephanie Dorethy?
21       asked that question, because that's a             21   A.   Well, I need to know that because she just
22       question that I want -- I want to ask the         22        told me in the interrogatories that you sent
23       Catholic deacons why is it that all the           23        me that she relinquished those duties that
24       other religions right before their religious      24        I've always been under the impression was
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